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     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEBRASKA

In Re:                                       )                Case No. 10-83596
                                             )
SANITARY AND IMPROVEMENT                     )                    CHAPTER 9
DISTRICT #528 OF DOUGLAS                     )
COUNTY, NEBRASKA,                            )
                                             )
         Debtor.                             )


            APPLICATION FOR FINAL DECREE AND FINAL ACCOUNTING/REPORT
         COMES NOW, Sanitary and Improvement District No. 528 of Douglas County,

Nebraska (the “Debtor”), by and through its attorney, Brian Doyle, and pursuant to the Order

Confirming Plan entered herein (Document No. 25) submits that the estate herein is fully

administered and substantially consummated as follows:

         1.    That all claims or interests have been surrendered or released in accordance with

the provisions of the plan except as shown in Schedule “A”, attached hereto.

         2.    That substantially all of the property of the Debtor has been transferred according

to the provisions of the plan except as shown in Schedule “B” attached hereto.

         3.    That the Debtor has assumed the business of substantially all of the property dealt

with by the plan as applicable.

         4.    That distributions have commenced under the plan and that payments to creditors

and other interested parties have been completed as shown in Schedule “C” attached hereto.

         5.    That there are no additional facts necessary to enable to Court to pass on the

provisions of the final decree except as presented in Schedule “D” attached hereto.

         WHEREFORE, Debtor herein prays for the entry of the Final Decree finding that the

Plan is effective and that the estate has been administered and, therefore, an Order of the Court

granting:
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        a.     Discharge of the Debtor, if applicable;

        b.     Any specific injunction or other equitable provisions as set forth in Schedule “D”;

        c.     the closing of the case; and

        d.     Pursuant to the United States Bankruptcy Code and the Plan, this Court shall

retain jurisdiction to adjudicate, as necessary, disputes or other matters to be resolved under the

Plan.



        Dated this 27th day of February, 2014.


                                               SANITARY AND IMPROVEMENT DISTRICT
                                               #528 OF DOUGLAS COUNTY, NEBRASKA,
                                               Debtor


                                               By: _____/s/Brian C. Doyle___________________
                                                     Brian C. Doyle, #23001
                                                     Fullenkamp, Doyle & Jobeun
                                                     11440 West Center Road
                                                     Omaha, NE 68144
                                                     Phone: 402-334-0700
                                                     Facsimile: 402-334-0815
                                                     brian@fdjlaw.com


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing was
forwarded by United States Mail, postage paid, this 28th day of February, 2014 to all parties
listed on the creditor Matrix.

       The undersigned hereby certifies that a true and correct copy of the foregoing was e-
mailed via the CM/ECF system this 28th day of February, 2014, to the following:

        Patricia Fahey

                                              ____/s/Brian C. Doyle____________________
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     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEBRASKA

In Re:                                        )                Case No. 09-81825
                                              )
SANITARY AND IMPROVEMENT                      )                   CHAPTER 9
DISTRICT #528 OF DOUGLAS                      )
COUNTY, NEBRASKA,                             )
                                              )
         Debtor.                              )

                                        SCHEDULE “A”


         Names and addresses of the holders of claims or interests that have not been surrendered
or released in accordance with the provisions of the Plan:
None.
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     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEBRASKA

In Re:                                     )               Case No. 09-81825
                                           )
SANITARY AND IMPROVEMENT                   )                  CHAPTER 9
DISTRICT #528 OF DOUGLAS                   )
COUNTY, NEBRASKA,                          )
                                           )
         Debtor.                           )

                                      SCHEDULE “B”


         The following property of the Debtor has been/will be transferred according to the
provisions of the Plan:
         N/A.
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     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEBRASKA

In Re:                                        )                  Case No. 09-81825
                                              )
SANITARY AND IMPROVEMENT                      )                    CHAPTER 9
DISTRICT #528 OF DOUGLAS                      )
COUNTY, NEBRASKA,                             )
                                              )
         Debtor.                              )

                                         SCHEDULE “C”


         Information required to close the case:


         All outstanding Construction Fund Warrants were surrendered to the disbursing agent in
accordance with the terms of the Plan.         Class “A” Bonds and Class “B” Certificates of
Indebtedness were delivered to the disbursing agent to hold for the creditors.
         In accordance with the Plan $690,000 was transferred from the Bond Fund to the General
Fund for the purpose of paying those General Fund Warrants and for ensuring the future viability
of the General Fund.
         Following the implementation of the Plan, as set forth above, the District has made
interest only distributions to the Certificate Holders based upon their pro-rata portions of the
Certificates. Such distributions have been made May 3, 2011 for $32,543.83; March 2, 2012 for
$322,393.18; March 16, 2012 for $68,132.77; and March 4, 2013 for $390,525.95. For 2014 the
District shall make an interest only payment. In following years the District shall make such
principal and interest payments as set forth in the Plan. Such further payment shall continue to be
made in accordance with the Plan until the Plan’s termination.
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     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEBRASKA

In Re:                                       )                Case No. 09-81825
                                             )
SANITARY AND IMPROVEMENT                     )                    CHAPTER 9
DISTRICT #528 OF DOUGLAS                     )
COUNTY, NEBRASKA,                            )
                                             )
         Debtor.                             )

                                        SCHEDULE “D”


         Include here additional facts, if any, which are necessary to enable to Court to pass on
any specific information or other equitable provisions requested in the final decree. If there are
none, so indicate.
         None.
